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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:14CR3138
                                        )
            V.                          )
                                        )           SECOND AMENDED
ANDREW JOSE ESPINOZA,                   )              ORDER ON
                                        )         SENTENCING SCHEDULE
                   Defendant.           )
                                        )


      IT IS ORDERED that the defendant’s unopposed motion to continue sentencing
hearing and extend deadlines (filing 103) is granted.

       IT IS FURTHER ORDERED that the following deadlines and procedures are
reset in this case:

4.    September 18, 2015: Written objections by counsel to the initial presentence
      report to the probation officer;

5.    September 25, 2015: Probation office's submission to the judge and counsel of
      initial or revised presentence report with changes, if any, responsive to
      counsels’ objections, and, if needed, an addendum explaining the probation
      officer’s position regarding any objections to the presentence report previously
      submitted by counsel;

6.    October 2, 2015:
           (a) Any proposals to the probation office for community service,
           community confinement, intermittent confinement or home detention;

            (b) Motions to the court:
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                 (1) for departure under the guidelines (including, but not limited
                 to, motions by the government) ; and
                 (2) for deviation or variance from the guidelines as allowed by the
                 Supreme Court’s decision in United States v. Booker, 125 S. Ct.
                 738 (2005) or its progeny;

           (c) Counsel's filing and serving on all other parties and the probation
           officer a written statement of position respecting each of the unresolved
           objections to the presentence report, including the specific nature of each
           objection to the presentence report.

           (d) If evidence is to be offered in support of or in opposition to a motion
           under subparagraph (b) of this paragraph or in support of or in
           opposition to an objection under subparagraph (c) of this paragraph 6, it
           must be: by affidavit, letter, report or other document attached to the
           statement of position or by oral testimony at the sentencing hearing. If
           oral testimony is desired, a request must be made in the statement of
           position and the statement of position must reveal (1) the nature of the
           expected testimony, (2) the necessity for oral testimony, instead of
           documentary evidence, such as affidavits, (3) the identity of each
           proposed witness, and (4) the length of time anticipated for presentation
           of the direct examination of the witness or witnesses. If a request for
           oral or documentary evidence is made by one party but not by the
           adverse party, the adverse party within five working days thereafter may
           make a responsive request for oral or documentary evidence, setting out
           details in the same manner as required by this paragraph 6(d).

           (e) Objections should be supported by a brief if a substantial issue of law
           is raised. Motions for departure should be supported by a brief that
           explains why the departure from the guideline sentencing range is
           justified by normal guideline departure theory. Motions for deviation
           or variance from the guidelines as allowed under Booker or its progeny
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           should be supported by a brief that explains why a sentence other than
           that called for under the guidelines is justified by a principle of law that
           is different in kind or degree from the normal principles of law applied
           under a strict application of the guidelines.

           (f) It is expected that any objection first raised in a party’s statement of
           position will be addressed at the judge’s discretion, and that no
           consideration will be given to any sentencing factor first raised after the
           filing of the written statement.

7.   October 9, 2015: Judge's notice to counsel of rulings, tentative findings, and
     whether oral testimony is to be permitted.

8.   The following procedures shall apply to objections to tentative findings:

           (a) A written objection to tentative findings is not required if no
           evidence will be offered in support of the objection to tentative findings
           and no new substantial issue of law will be raised in support of an
           objection to tentative findings. In such a case, an oral objection to the
           tentative findings may be made at the time of sentencing.

           (b) A written objection to tentative findings is required if evidence will
           be offered in support of the objection to the tentative findings or if a new
           substantial issue of law is raised in support of the objection to the
           tentative findings. If evidence will be offered in support of the written
           objection to the tentative findings, the written objection shall include a
           statement describing why an evidentiary hearing is required, what
           evidence will be presented, and how long such a hearing would take. If
           a new substantial issue of law is raised in support of the written objection
           to tentative findings, such an objection shall be supported by a brief.
           Unless the court orders otherwise, a written objection to the tentative
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           findings will be resolved at sentencing in such manner as the court
           deems appropriate.

           (c) Any written objection to tentative findings shall be filed no later than
           five business days prior to the date set for sentencing. If that is not
           possible due to the lack of time between the issuance of tentative
           findings and the sentencing hearing, the written objection shall be filed
           as soon as possible but not later than one business day prior to
           sentencing.

9.   October 15, 2015 at 12:00 noon: Sentencing before Judge Kopf.

     DATED this 12th day of August, 2015.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      Senior United States District Judge
